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                            UNITED STATES DISTRICT COURT                           JUN - 6 2019 .~
                            EASTERN DISTRICT OF MISSOURI                          U.S. DISTRICT COURT
                                  EASTERN DIVISION                              EASTERN DISTRICT OF MO
                                                                                        ST. LOUIS

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             ) No.         4:19CR00427 RLW/PLC
                                               )
MICHAEL J. HUBER,                              )
                                               )
       Defendant.                              )

                                        INDICTMENT

                                           COUNT 1

       The Grand Jury charges:

       On or about March 22, 2017, in the Eastern District of Missouri,

                                    MICHAEL J. HUBER,

the defendant herein, a loan officer for Movement Mortgage, LLC, forged and counterfeited an

instrument, paper, and document, that is, a bank statement of C.C. at US Bank NA, Account No.

XXXXXXXX3233, for the period February 11, 2016 through March 13, 2017, for the purpose of

obtaining a loan and advance of credit from Movement Mortgage, LLC, to C.C., with the intent

that such loan and advance of credit be offered to ·and accepted by the Department of Housing

·and Urban Development for insurance.

       In violation of Title 18, United States Code, Section 1010.

                                           COUNT2

       The Grand Jury charges:

       On or about December 5, 2016, in the Eastern District of Missouri,

                                    MICHAEL J. HUBER,
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the defendant herein, a loan officer for Movement Mortgage, LLC, forged and counterfeited an

instrument, paper, and document, that is, a bank statement of D.S. at US Bank NA, Account No.

XXXXXXXX:l 145, for the period October 19, 2016 through November 17, 2016, for the

purpose of obtaining a loan and advance of credit from Movement Mortgage, LLC, to D.S., with

the intent that such loan and advance of credit be offered to and accepted by the Department of

Housing and Urban Development for insurance.

       In violation of Title 18, United States Code, Section 1010.

                                           COUNT3

       The Grand Jury charges:

       On or about November 11, 2016, in the Eastern District of Missouri,

                                     MICHAEL J. HUBER,

the defendant herein, a loan officer for Movement Mortgage, LLC, forged and counterfeited an

instrument, paper, and document, that is, a bank statement ofN.M and C.M. at Bank of America

NA, Account No. XXX:XXXXX4990, for the period September 27, 2016 through October 25,

2016, for the purpose of obtaining a loan and advance of credit from Movement Mortgage, LLC,

to N'.Mand C.M, with the intent that such loan and advance of credit be offered to and accepted

by the Department of Housing and Urban Development for insurance.

       In violation of Title 18, United States Code, Section 1010.

                                           COUNT4

       The Grand Jury charges:

       On or about May 9, 2016, in the Eastern District of Missouri,

                                     MICHAEL J. HUBER,




                                                2
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I   .
        the defendant herein, a loan officer for Movement Mortgage, LLC, forged and counterfeited an

        instrument, paper, and document, that is, a credit union statement ofW.F. at American Eagle

        Credit Union, Account No. XXXX:XX9878, for the period April 1, 2016, through April 30, 2016,

        for the purpose of obtaining a loan and advance of credit from MovementMortgage; LLC, to

        W.F., with the intent that such loan and advance of credit be offered to and accepted by the

        Department of Housing and Urban Development for insurance.

               In violation of Title 18, United States Code, Section 1010.

                                                   COUNTS

               The Grand Jury charges:
                      '
               On or about May 31, 2016, in the Eastern District of Missouri,

                                             MICHAEL J. HUBER,

        the defendant herein, a loan officer for Movement Mortgage, LLC, forged and counterfeited an

        instrument, paper, and document, that is, a bank statement ofM.S. at Bank of America NA,

        Account No. X:XXXXXXX6528, for the period March 10, 2016 through April 9, 2016, for the

        purpose of obtaining a loan and advance of credit from Movement Mortgage, LLC, to M.S., with

        the intent that such loan and advance of credit be offered to and accepted by the Department of

        Housing and Urban Development for insurance.




                                                        3
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       In violation of Title 18, United States Code, Section 1010.

                                                    A TRUE BILL.



                                                    FOREPERSON

JEFFREY B. JENSEN
United States Attorney


STEVEN A. MUCHNICK
Assistant United States Attorney




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